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EXHIBIT A
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U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
Buffalo Local Office
6 Fountain Plaza, Suite 350
Buffalo, NY 14202
(716) 551-4442
TTY (716) 551-5923
FAX (716) 551-4387

Charge No.: 846-2008-5893 1

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UR TURN STEUER REE HEE

Clifton Park, New York 12065 Charging Party

Schenectady City School District
108 Education Drive
Schenectady, New York 12303 Respondent

DETERMINATION

Under the authority vested in me by the Commission's Procedural Regulations, I issue the
following determination on the merits of this charge filed under Title I of the Americans with
Disabilities Act (ADA) of 1990, as amended, 42 U.S.C. 12101, et seq.

Timeliness, deferral and all other requirements for coverage have been met. Charging Party
alleged she was denied a reasonable accommodation based on her disability.

Respondent denied the allegations. Respondent stated it was an undue hardship to provide
Charging Party’s first choice for accommodation, however it offered several alternate
accommodations and Charging Party continues to work with an alternate accommodation.

The evidence revealed that Charging Party is a qualified individual with a disability. The record
showed the Charging Party submitted medical restrictions and requested a reasonable
accommodation. Charging Party’s doctor opined that the most ideal accommodation would be to
provide Charging Party with her own classroom. Respondent indicated it was an undue hardship
to provide Charging Party with her own classroom, because it had no available room to give her. .
Respondent further stated that the other Math Teachers have larger class sizes and logistically
required a classroom in which to teach. The evidence showed the Respondent attempted to
accommodate Charging Party’s medical restrictions with alternate means. The investigation
determined these alternatives were not effective, as evidenced by the fact that Respondent placed
disciplinary letters in Charging Party’s personnel file directly related to the alternate
accommodations. The investigation further determined Respondent was unable to support an
undue hardship defense, in that although Charging Party taught smaller class sizes, she still
taught five classes per day, and a similar number of students would have been affected. The
evidence further showed that Respondent received notice of Charging Party’s need for
accommodation prior to classes starting, and Respondent could have revamped the Master
Scheduled in order to provide an accommodation.
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Page 2 Charge No.: 846-2008-5893 1

This determination does not conclude the processing of this charge. The EEOC will begin
conciliation efforts to resolve all matters where there is reason to believe that violations have
occurred. Therefore, the Commission now invites the parties to join with it in reaching a just
resolution to this matter. The confidentiality provisions of Section 107 of the ADA and the
Commission Regulations apply to information obtained during conciliation.

When the Respondent declines to discuss settlement or when, for any reason, a settlement
acceptable to the office Enforcement Manager is not obtained, the Enforcement will inform the
parties and advise them of the court enforcement alternatives available to aggrieved persons and
the Commission. A Commission representative will contact each party in the near future to
begin conciliation.

On Behalf of the Commission:

JUN 0 2 2009 layin Dota of

Date lizabeth Cadle, Enforcement Manager
Buffalo Local Office

